     Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 1 of 17 Page ID #:6863



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13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14

15                            UNITED STATES DISTRICT COURT

16                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

17   UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS

18              Plaintiff,                     JOINTLY SUBMITTED JURY
                                               QUESTIONNAIRE AND OBJECTIONS
19                    v.

20   MICHAEL JOHN AVENATTI,

21              Defendant.

22

23         Pursuant to the Court’s order (CR 456), plaintiff United States
24   of America, by and through its counsel of record, the Acting United
25   States Attorney for the Central District of California and Assistant
26   United States Attorneys Brett A. Sagel and Alexander C.K. Wyman, and
27   ///
28
     Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 2 of 17 Page ID #:6864



 1   defendant MICHAEL JOHN AVENATTI, by and through his counsel of

 2   record, H. Dean Steward, hereby jointly file their proposed jury

 3   questionnaire.     The parties respectfully reserve the right to

 4   supplement these jury questionnaires as needed.

 5         The Parties submit the jointly proposed jury questionnaire with

 6   only one question for the Court to determine as appropriate, Question

 7   38.   Defendant’s objection to the government’s proposed question 38:

 8   it should not be limited to criminal investigations and to law

 9   enforcement.     The government’s objection to defendant’s proposed

10   question 38: the defendant’s proposed question would likely elicit

11   too many answers that would be irrelevant.

12

13    Dated: May 17, 2021                  Respectfully submitted,

14                                         TRACY L. WILKISON
                                           Acting United States Attorney
15
                                           BRANDON D. FOX
16                                         Assistant United States Attorney
                                           Chief, Criminal Division
17

18                                             /s/
                                           BRETT A. SAGEL
19                                         ALEXANDER C.K. WYMAN
                                           Assistant United States Attorneys
20
                                           Attorneys for Plaintiff
21                                         UNITED STATES OF AMERICA

22
      Dated: May 17, 2021                     /s/
23                                         H. DEAN STEWARD

24                                         Attorney for Defendant
                                           MICHAEL JOHN AVENATTI
25

26

27

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                                               2
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 3 of 17 Page ID #:6865

JUROR NAME: _____________________
JUROR NUMBER: __________________

                                     JURY QUESTIONNAIRE
PRELIMINARY INSTRUCTIONS
Please read the following instructions carefully before completing any portion of this
questionnaire. Please print your juror name and number in the space provided at the top of
each page. Please answer each and every question by circling your response or by providing
the information requested. Please answer each question fully. Some questions have more
than one part.

YOU ARE SWORN TO GIVE TRUE AND COMPLETE ANSWERS TO ALL QUESTIONS IN THIS
QUESTIONNAIRE. This questionnaire is designed to help simplify and shorten the jury selection
process for the Court and the parties to learn enough information about each juror’s
background and experiences to select a fair and impartial jury. The purpose of the
questionnaire is to determine whether prospective jurors can decide this case impartially based
upon the evidence presented at trial and the legal instructions given by the presiding judge.
The questions are not intended to inquire unnecessarily into personal matters. The use of this
questionnaire will avoid the necessity of asking each prospective juror these questions in open
court and will substantially shorten the jury selection process. Efforts will be made to keep
your responses as confidential as possible.

Please answer all questions as fully and completely as you can to the best of your ability. If you
do not know the answer to a question then write, “I don’t know.” There are no “right” or
“wrong” answers, only truthful answers. If you have strong feelings about this case in general,
please do not hesitate to share them. Although you may be a perfectly good juror in another
case, this may or may not be the right case for you to sit on as an impartial juror. Both parties
have the right to get honest answers and to hear your true opinions.

If you need extra space to answer any question, please use the extra blank sheets of paper
included at the end of the questionnaire. Be sure to indicate on the blank page the number of
the question you are answering. Do not write anything on the back of any page.

DO NOT DISCUSS YOUR QUESTIONS AND ANSWERS OR THE CASE WITH ANYONE, NOW OR
UNTIL FURTHER INSTRUCTED BY THE COURT. You should not discuss the questions or answers
with fellow jurors. It is very important that your answers be your own individual answers.
More broadly, do not discuss the case with anyone, including the lawyers (except in the
presence of the Court), your fellow jurors, your family, your friends, or anyone else. Do not
communicate about the case in any way, including telephone, e‐mail, any social media app or
website (such as Facebook), or any communications app or website (such as Twitter). You must
also avoid reading or hearing about the case (or anyone participating in the case) in
newspapers, in magazines, on the radio or television, or on the Internet.

DO NOT DO YOUR OWN RESEARCH ON MICHAEL AVENATTI OR ON THE CASE. Do not conduct
any research into Michael Avenatti or the case (or anyone participating in the case) at any time
before your entire jury service has been completed. That includes performing Internet
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 4 of 17 Page ID #:6866

JUROR NAME: _____________________
JUROR NUMBER: __________________

searches, searching social media, asking other people about Mr. Avenatti or the case, reading
news stories, books, or reports about Mr. Avenatti or the case, or watching films or television
programs that relate to Mr. Avenatti or the case. Do not read, watch, or listen to any
information about Mr. Avenatti or this case.

Michael Avenatti is presumed innocent of the charges against him, and it is the government’s
burden to prove, beyond a reasonable doubt, that he committed these crimes. Michael
Avenatti has no burden to present any evidence at all and also has no obligation to testify at
trial.
If you believe that any of your answers contain private information that could embarrass you or
otherwise seriously compromise your privacy and wish to request that the Court keep them
confidential and not distribute them beyond the judge and counsel, you may indicate that on
one of the blank pages at the end of this form. (Please identify the specific answer or answers
that you believe should remain confidential.) After a jury has been selected, all copies of your
responses to the questionnaire will be returned to the Court.
TRIAL SCHEDULE AND PERSONAL HARDSHIP
The trial in this matter is expected to last approximately four to five weeks, with the trial days
generally being on Tuesday through Friday from 9 a.m. to 4:30 p.m.
1. Do any circumstances exist such that serving on the jury in this case would entail serious
   hardship or extreme inconvenience? (Please Circle: YES or NO). If yes, please briefly
   describe the serious hardship or extreme inconvenience:_____________________________
   ___________________________________________________________________________
   ___________________________________________________________________________
   ___________________________________________________________________________
   ___________________________________________________________________________
2. Do you have any difficulty reading, speaking, or understanding English? (Please Circle: YES
   or NO).
3. Do you have any mental or physical condition or illness that makes you unable to serve on a
   jury? (Please Circle: YES or NO). If yes, please briefly describe the condition or illness:
   ___________________________________________________________________________
   ___________________________________________________________________________
   ___________________________________________________________________________
   ___________________________________________________________________________
GENERAL BACKGROUND
4. How old are you? ____________________________________________________________
5. What city do you live in? ______________________________________________________
   And for approximately how long? _______________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 5 of 17 Page ID #:6867

JUROR NAME: _____________________
JUROR NUMBER: __________________

6. In what other city or county, if any, have you lived in the last five years?
   ___________________________________________________________________________
   ___________________________________________________________________________
7. How far did you go in school?___________________________________________________
       If you attended college, graduate, and/or professional school, please specify your area
       of study and what degree you received, if any: __________________________________
       ________________________________________________________________________
8. How are you currently employed (if you have multiple jobs, list each)?__________________
    ___________________________________________________________________________
             a. How long have you worked at your job? _________________________________
             b. If less than five years, what did you do previously?_________________________
             c. What are your specific duties at your job?________________________________
                __________________________________________________________________
             d. How many people, if any, do you supervise?______________________________
9. If you are retired, when did you retire? ___________________________________________
             a. What was your last job prior to retiring? _________________________________
             b. How long did you work at your last job? _________________________________
10. If you are not employed outside of the home, please describe your circumstances (for
    example, a student, a homemaker, between jobs, disabled, or other) and how long it has
    been since you were last employed outside of the home? ____________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
11. What is your marital status?____________________________________________________
             a. If married, how is your spouse employed? _______________________________
             b. Do you have any children? (Please Circle: YES or NO) If yes, how many and what
                are their ages?______________________________________________________
                __________________________________________________________________
             c. If not married, but you share a household with another adult(s), how are they
                employed?_________________________________________________________
                __________________________________________________________________
12. If you have any adult children, how are they employed? _____________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
13. Have you, or anyone close to you, ever been employed by the federal government? (Please
    Circle: YES or NO). If yes, in what capacity? ________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 6 of 17 Page ID #:6868

JUROR NAME: _____________________
JUROR NUMBER: __________________

    Has that employment left you with a negative, positive, or neutral impression of the federal
    government or individuals who work for the federal government? _____________________
    ___________________________________________________________________________
    ___________________________________________________________________________
14. What newspapers, magazines, websites, television channels or shows, radio stations or
    shows, or applications, if any, do you read, watch, visit, or use on a regular basis? ________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
15. What newspapers, magazines, websites, television channels or shows, radio stations or
    shows, or applications, if any, do you read, watch, visit, or use on a regular basis to get
    news? _____________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
16. Do you watch television shows and/or read books or websites about the police, lawyers,
    and/or the criminal justice system? How often? Which ones? _________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
17. Do you use social media websites, including Twitter, Facebook, Instagram, or others?
    (Please Circle: YES or NO). If yes, which ones and what functions do you use on those social
    media sites?_________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
18. Do you belong to or volunteer your time to any associations, organizations, clubs, or
    unions? (Please Circle: YES or NO). If yes, please list the group and explain your involvement
    and any leadership roles you have? ______________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
19. Have you, or someone close to you, ever been the victim of a crime? (Please Circle: YES or
    NO). If yes, please describe (including the type of crime, whether anyone was arrested,
    whether there was a trial, and/or what the outcome was): ___________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    If you answered yes, has this experience left you with a negative, positive, or neutral
    impression of law enforcement, judges, prosecutors, defense attorneys, or the criminal
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 7 of 17 Page ID #:6869

JUROR NAME: _____________________
JUROR NUMBER: __________________

    justice system? ______________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
20. Have you, or someone close to you, ever been investigated for, arrested for, charged with,
    or convicted of any offense (other than a minor traffic offense)? (Please Circle: YES or NO).
    If yes, please describe the nature of the offense, the outcome, and whether the experience
    has left you with a negative, positive, or neutral impression of law enforcement, judges,
    prosecutors, defense attorneys, or the criminal justice system: _______________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
PRIOR JURY SERVICE
21. Have you ever served on a jury in a civil or criminal trial? (Please Circle: YES or NO). If yes,
    please describe the case(s), stating whether the trial(s) was civil or criminal, in state or
    federal court, and whether a verdict was reached (do NOT state the verdict, just whether
    one was reached): ___________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
22. Have you ever served on a grand jury? (Please Circle: YES or NO). If yes, please describe
    when and where: ____________________________________________________________
    ___________________________________________________________________________
23. This is a criminal case. Among other things, that means that the burden of proof differs
    from the burdens of proof that apply in a civil case or in the grand jury. If you have
    previously served as a juror in a civil case or on a grand jury, would you be able to follow the
    Court’s instructions with respect to the burdens that apply in this case? (Please Circle: YES
    or NO).
24. If you have previously served as a juror, was there anything about your jury experience that
    would make you unable to be fair and impartial in this case? (Please Circle: YES or NO). If
    you answered yes, please describe why: __________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 8 of 17 Page ID #:6870

JUROR NAME: _____________________
JUROR NUMBER: __________________

KNOWLEDGE AND OPINIONS OF THE CASE AND PARTIES
25. Before today, had you read, seen, or heard anything about Mr. Avenatti? (Please Circle: YES
    or NO). If yes, please describe what you remember reading, seeing, and/or hearing and
    from where: __________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
26. Based on anything that you have read, seen, or heard about Mr. Avenatti, have you formed
    any opinions about Mr. Avenatti that might make it difficult for you to be a fair and
    impartial juror in this case? (Please Circle: YES or NO or Not Applicable, as I have not
    read/seen/heard anything about Mr. Avenatti). If yes, please explain why: ______________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
27. Based on anything that you have read, seen, or heard about Mr. Avenatti, would you be
    able to follow the Court’s instruction to put that information out of your mind and decide
    this case based only on the evidence presented at trial? (Please Circle: YES or NO or Not
    Applicable, as I have not read/seen/heard anything about Mr. Avenatti). If no, please
    explain why: ________________________________________________________________
    ___________________________________________________________________________
28. Defendant in this case is Michael Avenatti. Do you, or anyone close to you, personally know
    or have past or present dealings with Mr. Avenatti or any of his family members? (Please
    Circle: YES or NO). If yes, please describe: _________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
29. Before today, had you read, seen, or heard anything about criminal charges brought against
    Mr. Avenatti? (Please Circle: YES or NO). If yes, please describe what you remember
    reading, seeing, and/or hearing and from where: ___________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
30. Years ago, there was an incident in connection with Super Bowl 45 in Dallas, Texas where
    certain fans had purchased seats that were later found to either not exist or have
    obstructed views. Do you remember anything about this? (Please Circle: YES or NO). If yes,
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 9 of 17 Page ID #:6871

JUROR NAME: _____________________
JUROR NUMBER: __________________

    what do you remember:_______________________________________________________
    ___________________________________________________________________________
31. You were instructed, and will be instructed throughout the trial, that you cannot read or
    listen to any accounts of this case in the media or on social media. Do you think this will be
    too difficult to do? (Please Circle: YES or NO). If yes, please explain why: ________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    If you inadvertently hear or see something, can you give the Court and the parties your
    assurance that you will still decide the case based only on the evidence presented in the
    courtroom? _________________________________________________________________
32. Mr. Avenatti is a civil trial lawyer who sues individuals and corporations. Would you give
    greater or lesser weight to the evidence in the case simply because he is a lawyer? (Please
    Circle: YES or NO). If yes, please describe why: _____________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    What is your opinion of civil trial lawyers?_________________________________________
    ___________________________________________________________________________
    Do you believe there are too many lawsuits in this country? (Please Circle: YES or NO).
    Please explain:_______________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    Would the fact that Mr. Avenatti is a lawyer affect your ability to be fair and impartial in this
    case? (Please Circle: YES or NO). If yes, please describe why: _________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
33. Are you, or anyone close to you, a lawyer? (Please Circle: YES or NO). If yes, please describe
    who and your relationship to that person and whether that has left you with a negative,
    positive, or neutral impression of judges, prosecutors, defense attorneys, the criminal
    justice system, or lawyers generally: _____________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
34. Have you ever hired a lawyer to represent you? (Please Circle: YES or NO). If yes, was there
    anything positive or negative about the experience of being represented by a lawyer? _____
    ___________________________________________________________________________
    ___________________________________________________________________________
    ___________________________________________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 10 of 17 Page ID #:6872

 JUROR NAME: _____________________
 JUROR NUMBER: __________________

 35. Have you, or someone close to you, ever served in the military? (Please Circle: YES or NO).
     If yes, please describe who, what branch, and how long:_____________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 36. Have you, or someone close to you, ever had any contact with law enforcement officials
     that has caused you to form strong opinions, either positive or negative, regarding law
     enforcement? (Please Circle: YES or NO). If yes, please describe:_______________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 37. Have you, or someone close to you, ever been employed in law enforcement (including
     state or local police departments, federal investigatory agencies such as the FBI, the
     Securities and Exchange Commission, any prosecutor’s office, the Department of
     Corrections, any regulatory agency, etc.)? (Please Circle: YES or NO). If yes, in what
     capacity?___________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     Has that employment caused you to form strong opinions, either positive or negative,
     regarding law enforcement? (Please Circle: YES or NO). If yes, please describe: ___________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 38. Government’s proposed question: Have you, or someone close to you, ever been
     questioned as part of a criminal investigation by a law enforcement agency? (Please Circle:
     YES or NO). If yes, please describe who, the circumstances, and whether the experience left
     you with a negative, positive, or neutral impression of law enforcement:________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     Defendant’s proposed question: Have you, or someone close to you, ever been questioned
     as part of any investigation? (Please Circle: YES or NO). If yes, please describe who, the
     circumstances, and whether the experience left you with a negative, positive, or neutral
     impression of who questioned you:______________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 39. Have you ever testified as a witness at any kind of legal proceeding, including a case or trial?
     (Please Circle: YES or NO). If yes, please describe the circumstances:____________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 11 of 17 Page ID #:6873

 JUROR NAME: _____________________
 JUROR NUMBER: __________________

 40. Have you ever been involved in a civil or criminal proceeding as either a plaintiff or
     defendant? (Please Circle: YES or NO). If yes, please describe the circumstances:__________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 41. This case was investigated by special agents employed by the Internal Revenue Service –
     Criminal Investigations. Do you have any feelings or opinions about the Internal Revenue
     Service that would affect your ability to be fair and impartial to either the government or
     Mr. Avenatti? (Please Circle: YES or NO). If yes, please describe: _______________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     Have you, or someone close to you, had a bad experience with the Internal Revenue
     Service? (Please Circle: YES or NO). If yes, please describe: ___________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     If yes, would this experience affect your ability to be a fair and impartial juror? __________
     ___________________________________________________________________________
 42. Do you, or anyone close to you, work in the criminal justice system? (Please Circle: YES or
     NO). If yes, please describe who and your relationship to that person and whether that has
     left you with a negative, positive, or neutral impression of judges, prosecutors, defense
     attorneys, the criminal justice system, or lawyers generally: __________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 43. Do you have any opinions or feelings about the criminal justice system, such as judges,
     prosecutors, defense lawyers, and law enforcement officials, that would make it difficult for
     you to be fair and impartial jurors in this case? (Please Circle: YES or NO). If yes, please
     describe: ___________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 44. Do you believe that our laws provide criminals with too many rights? Too few rights?
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 45. Have you, or someone close to you, ever filed for bankruptcy? (Please Circle: YES or NO). If
     yes, please describe: __________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 12 of 17 Page ID #:6874

 JUROR NAME: _____________________
 JUROR NUMBER: __________________

     Do you have any opinions, either positive or negative, about individuals or companies that
     file for bankruptcy? (Please Circle: YES or NO). If yes, please describe: __________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 46. Under our justice system, the facts are to be determined by the jury and the law is to be
     determined by the Court. These two responsibilities are separate and distinct. Thus, when
     the Court instructs you on the law during and at the end of the trial, you are required to
     accept the law as the Court states it even though you might not agree with it personally. Is
     there any reason that you would be unwilling or unable to apply the law as given to you by
     the Court? (Please Circle: YES or NO). If yes, please describe: _________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 47. Have you, or anyone close to you, ever been engaged in a lawsuit against the United States
     government? (Please Circle: YES or NO). If yes, please describe: _______________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     If yes, was there anything about the lawsuit that would affect your ability to serve as a fair
     and impartial juror? __________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 48. Have you, or anyone close to you, ever had any dealings with the United States Attorney’s
     Office? (Please Circle: YES or NO). If yes, please describe: ____________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     If yes, was there anything about those circumstances that would affect your ability to serve
     as a fair and impartial juror?____________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 49. Michael Avenatti is presumed innocent and cannot be convicted unless the jury,
     unanimously and based solely on the evidence presented in court, decides that his guilt has
     been proven beyond a reasonable doubt. The burden of proving guilt beyond a reasonable
     doubt rests entirely with the government. Michael Avenatti has no burden of proof
     whatsoever and he is not required to present any evidence. Would you have any difficulty
     following these rules? (Please Circle: YES or NO). If yes, please explain why:______________
     ___________________________________________________________________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 13 of 17 Page ID #:6875

 JUROR NAME: _____________________
 JUROR NUMBER: __________________

     ___________________________________________________________________________
     ___________________________________________________________________________
 50. An indictment itself is not evidence. It merely is a document that describes the charges the
     government has brought against Michael Avenatti. It is only an accusation. It may not be
     considered by you as any evidence whatsoever of Michael Avenatti’s guilt. Would you have
     any difficulty following this rule of law? (Please Circle: YES or NO). If yes, please explain
     why: ______________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 51. Under the law and the Constitution, Michael Avenatti need not testify in his own defense. If
     he does not testify, the jury may not consider that fact in any way in reaching a decision as
     to whether a defendant is guilty. Would you have any difficulty following this rule of law?
     (Please Circle: YES or NO). If yes, please explain why:________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 52. Do you know or have you heard of any of the following people or entities, which include the
     lawyers in this case, people who may testify at trial, and other names and entities that may
     be mentioned during the course of the trial? (Please circle any for whom/which the answer
     is YES):
     [The parties to list the names/entities]
     If you circled any of the above, please describe your familiarity with that person or entity:
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     If you circled any of the above, would your familiarity with any person or entity affect your
     ability to serve as a fair and impartial juror? (Please Circle: YES or NO). If yes, please
     describe:___________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 53. Do you know of any reason why you may be prejudiced for or against the government, for
     or against any witness, or for or against Mr. Avenatti because of the nature of the charges
     or otherwise? _______________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 54. If chosen to sit as a juror, the Court will order you not to discuss this case amongst
     yourselves or with any others until it is submitted to you for a decision. The Court will also
     instruct you that you must neither form nor express any opinion on any subject connected
     with the case until it is finally submitted to you for your decision. Will you be able to follow
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 14 of 17 Page ID #:6876

 JUROR NAME: _____________________
 JUROR NUMBER: __________________

     these instructions? (Please Circle: YES or NO). If no, please explain why:_________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 55. There are some people who, for moral, ethical, religious, or other reasons, believe that it is
     not proper or would find it difficult to pass judgment on the conduct of others. Do you hold
     such beliefs or believe that you might be affected by such beliefs? (Please Circle: YES or NO).
     If yes, please explain why: _____________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 56. Is there anything in your background or life experiences that you think we should know in
     connection with you being considered to serve as a juror in this case? (Please Circle: YES or
     NO). If yes, please explain why? _________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 57. Is there any reason that you think you cannot be a fair and impartial juror in this case?
     (Please Circle: YES or NO). If yes, please explain why: ________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 58. If the Court instructs you that your verdict must not be based on sympathy, passion, or
     prejudice, but only on the evidence presented in this case and on the law as the Court
     instructs you on it, will you be able to follow that instruction? (Please Circle: YES or NO). If
     no, please explain why: _______________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 59. The potential punishment for the offenses charged in the indictment is a matter that the
     jury should never consider in arriving at an impartial verdict of guilty or not guilty for the
     accused. If you are selected as a juror in this case, will you be able to hear the evidence,
     deliberate with your fellow jurors, and apply the law as the Court instructs you on it without
     speculating about whatever punishment may or may not be imposed in this case? (Please
     Circle: YES or NO). If no, please explain why: ______________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
 60. If you are selected as a juror and hear this case, you will be required to deliberate with
     eleven other jurors. This will require you to discuss the evidence and the law in this case
     with those other jurors. Is there anything that might interfere with your ability to deliberate
     and reach a verdict in this case?_________________________________________________
     ___________________________________________________________________________
     ___________________________________________________________________________
     Is there anything that leads you to believe that you might be unable or unwilling to engage
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 15 of 17 Page ID #:6877

 JUROR NAME: _____________________
 JUROR NUMBER: __________________

    in such discussions with your fellow jurors?________________________________________
    ___________________________________________________________________________


                                         DECLARATION

 I, ___________________________ (print name) declare under penalty of perjury that the
 foregoing answers set forth in this Jury Questionnaire are true and correct to the best of my
 knowledge and belief. I have not discussed my answers with others, or received assistance in
 completing the questionnaire.

                                                Signed this _____ day of June/July, 2021




                                                                                    (signature)
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 16 of 17 Page ID #:6878

 JUROR NAME: _____________________
 JUROR NUMBER: __________________
Case 8:19-cr-00061-JVS Document 460 Filed 05/17/21 Page 17 of 17 Page ID #:6879

 JUROR NAME: _____________________
 JUROR NUMBER: __________________
